Case 1:23-cv-00108-LMB-JFA Document 351 Filed 08/29/23 Page 1 of 6 PageID# 5260




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division
 UNITED STATES, et al.,                        )
                                               )
                        Plaintiffs,            )
        v.                                     )       No. 1:23-cv-00108-LMB-JFA
                                               )
 GOOGLE LLC,                                   )
                                               )
                        Defendant.             )

                JOINT RESPONSE TO MOTIONS FOR LEAVE TO DEPOSE
                        CERTAIN THIRD-PARTY WITNESSES
                      AFTER THE CLOSE OF FACT DISCOVERY

        On August 25, 2023, the parties filed a total of three motions—two from Plaintiffs and

 one from Google—addressing the depositions of certain witnesses after the close of fact

 discovery. ECF Nos. 338, 340, 345. One of Plaintiffs’ motions also sought relief regarding a

 party deposition of a Google employee that was noticed by plaintiffs in the multidistrict litigation

 (“MDL”) pending in the U.S. District Court for the Southern District of New York, In re Google

 Digital Advertising Antitrust Litigation, 1:21-md-3010-PKC (S.D.N.Y.), ECF No. 340, during

 the Coordinated Discovery Period as defined by this Court’s Order on Coordination of

 Discovery, ECF No. 251. The parties have met and conferred in an effort to narrow the

 remaining areas of disagreement in these pending motions as much as possible. Below, the

 parties set forth the areas where they have reached agreement as to deposition scheduling and

 would ask that the Court construe the motions filed on August 25, 2023, at ECF Nos. 338, 340,

 and 345, as a joint motion with respect to those topics.1 The parties have also set forth the areas

 where disagreement remains. As to those areas, the parties will file responses and replies in



 1
  The parties stand by their respective rationales as set forth in the filings on August 25, 2023,
 but have reached agreement as to the relief that they are seeking from the Court.
Case 1:23-cv-00108-LMB-JFA Document 351 Filed 08/29/23 Page 2 of 6 PageID# 5261




 accordance with the normal expedited briefing schedule for discovery motions. ECF No. 94, ¶

 18.e.

             AREAS WHERE THE PARTIES HAVE REACHED AGREEMENT

         The parties jointly seek the Court’s leave to conduct the following depositions after the

 close of fact discovery on September 8, 2023, and to use those depositions as if they had been

 taken on or before September 8, 2023.

         The parties submit that good cause exists to conduct these depositions after September 8,

 2023. Generally, when a party seeks to modify the scheduling order, the Court must consider

 whether there is any “danger of prejudice to the non-moving party, the length of delay and its

 potential impact on judicial proceedings, the reason for the delay, and whether the movant acted

 in good faith.” Roe v. Howard, No. 1:16-cv-562, 2017 U.S. Dist. LEXIS 187258, *1-2 (E.D. Va.

 June 30, 2017). Furthermore, a showing of “good cause” to modify the scheduling order

 “requires ‘the party seeking relief [to] show that the deadlines cannot reasonably be met despite

 the party’s diligence.’” Cook v. Howard, 484 Fed. Appx. 805, 815 (4th Cir. 2012) (unpublished

 per curiam) (citations omitted); accord Fed. R. Civ. P. 16, 1983 Adv. Comm. Notes (the movant

 must show that the current deadlines “cannot reasonably be met despite the diligence of the party

 seeking” the modification). Good cause under this test is easily shown.

         Each of the good cause factors favors extending the current schedule for these depositions.

 First, there will be no prejudice to another party. Second, these depositions are expected to be

 completed promptly and will not impede the rest of the schedule. Third, the delay has resulted

 from the need to coordinate the schedules of the parties’ counsel, the deponents, and their counsel

 or because pending motions may affect the scope of noticed depositions. Finally, the parties have

 diligently pursued this discovery. These third parties were served subpoenas and deposition




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Case 1:23-cv-00108-LMB-JFA Document 351 Filed 08/29/23 Page 3 of 6 PageID# 5262




 notices in time to take these depositions before September 8. Accordingly, good cause exists to

 allow these depositions to be taken after September 8.

         NBC/Comcast: The parties jointly propose to conduct this deposition on September 21

 or 22, 2023.

         Meta: The parties jointly propose to conduct this deposition over two separate days,

 specifically on September 18, 2023, and September 28, 2023.

         Disney: The parties are working cooperatively to determine this witness’s availability. If

 the witness is not available on or before September 8, 2023, the parties jointly propose to

 conduct this deposition at a mutually convenient time no later than September 30, 2023.

         Open X: The parties jointly propose to conduct this deposition during the first week of

 October 2023.2

         Index Exchange: The parties jointly propose to conduct this deposition during the week

 of September 24, 2023.

         Mediavine: The parties jointly propose to conduct this deposition on September 22,

 2023.

         GroupM: The parties jointly propose to conduct this deposition on September 25, 2023.

         GSD&M: The parties are working cooperatively to determine this witness’s availability.

 If the witness is not available on or before September 8, 2023, the parties jointly propose to

 conduct this deposition at a mutually convenient time no later than September 30, 2023.

         Brian O’Kelley: The parties jointly propose to conduct this deposition on September 15,

 28, or 29, 2023.




 2
  The parties are prepared to provide additional information regarding the reasons for this
 witness’s unavailability in a sealed filing, upon request.


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Case 1:23-cv-00108-LMB-JFA Document 351 Filed 08/29/23 Page 4 of 6 PageID# 5263




          News Corp: The parties jointly propose to conduct this deposition on September 22,

 2023.3

          Jonathan Kanter and Susan Athey: The parties4 agree that these depositions and

 document productions need not occur prior to 14 days from the date that the Court rules on the

 pending Motion for Partial Judgment on the Pleadings or a Protective Order. The parties will

 otherwise meet and confer about the specific dates of these depositions and deadlines for the

 document productions, including whether the Court’s ruling on the pending Motion for Partial

 Judgment on the Pleadings or in the Alternative, a Protective Order, or any subsequent filings,

 has obviated the need for the depositions or document productions.

          AREAS OF REMAINING DISAGREEMENT BETWEEN THE PARTIES

          The parties continue to disagree regarding a party deposition of a Google employee that

 was noticed by plaintiffs in the MDL. The parties will file responses and replies in accordance

 with the normal expedited briefing schedule for discovery motions. ECF No. 94, ¶ 18.e.

                                           *       *       *

          Plaintiffs and Google request that the Court grant this joint motion for leave to depose

 these witnesses after the close of fact discovery for the reasons set forth above, and to use those

 depositions as if they occurred on or before September 8, 2023. See U.S. ex rel. Becker v.

 Westinghouse Savannah River Co., 305 F.3d 284, 290 (4th Cir. 2002) (“We afford substantial

 discretion to a district court in managing discovery and review discovery rulings only for abuse




 3
   Plaintiffs’ Motion (Dkt. 388) states that the News Corp deposition was noticed in the MDL.
 Google noticed the News Corp deposition in this case.
 4
   The United States incorporates by reference and restates the information and reservations of
 rights contained in footnotes 2 and 3 of its motion at ECF No. 338.


                                                   4
Case 1:23-cv-00108-LMB-JFA Document 351 Filed 08/29/23 Page 5 of 6 PageID# 5264




 of that discretion.”). The parties additionally jointly request that the Court allow the parties to

 use these depositions for all purposes as if they had occurred on or before September 8, 2023.

 Dated: August 29, 2023

 Respectfully submitted,

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                                                   5
Case 1:23-cv-00108-LMB-JFA Document 351 Filed 08/29/23 Page 6 of 6 PageID# 5265




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                                         6
